   Case 23-13359-VFP             Doc 2402    Filed 10/03/23 Entered 10/03/23 16:56:23                    Desc Main
                                            Document     Page 1 of 1

                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY


 In Re:                                                          Case No.:                       23-13359
                                                                                          ______________________

                                                                 Hearing Date:               October 26, 2023
                                                                                          ______________________
  Bed Bath & Beyond Inc.,
                                                                 Chapter:                           11
                                                                                          ______________________
  Debtor.
                                                                 Judge:                      Vincent F. Papalia
                                                                                          ______________________



                                  NOTICE OF EVIDENTIARY HEARING
                                                                     Christine M. Gravelle
          You are hereby notified of a hearing before the Honorable _________________________________,
          United States Bankruptcy Judge.

          Reason for Hearing:
                                    Evidentiary hearing regarding Store Number 1107, (Dkt. No. 1025 & 1360)

                                    U.S. Bankruptcy Court
          Location of Hearing:      50 Walnut Street, 3rd Fl.
                                    Newark, NJ 07102
                                    Courtroom No. 3B




          Date and Time:                October 26, 2023 at 10:00am


          COURT APPEARANCES:            X ARE REQUIRED  ARE NOT REQUIRED
                                        
                                    Please visit the U.S. Bankruptcy Court website (http://www.njb.uscourts.gov/BBB) for
                                    instruction on how to appear via Zoom.

                                                         JEANNE A. NAUGHTON, Clerk
DATE: _October 3, 2023_                                       /S/ Juan Filgueiras
                                                         By: _______________________________
                                                               Deputy Clerk



                                    CERTIFICATE OF MAILING
                                            October 3
        I HEREBY CERTIFY that on _______________________,           23__ this notice was served on the
                                                                20___
following: Debtor and its counsel; The Office of the U.S. Trustee; Counsel for Creditor Committee
            and any other party having filed a Notice of Appearance in this Bankruptcy Case.

                                                       JEANNE A. NAUGHTON, Clerk

                                                            /S/ Juan Filgueiras
                                                       By: ______________________________
                                                               Deputy Clerk

                                                                                                                  re v . 1 / 4 / 1 7
